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    18                                  UNITED STATES DISTRICT COURT

    19                            NORTHERN DISTRICT OF CALIFORNIA

    20                                       OAKLAND DIVISION

    21   YING YING GUAN, individually and on             Case No. 4:20-cv-05719 (JST)
         behalf of all others similarly situated,
    22                                                   CLASS ACTION
                          Plaintiffs,
    23                                                   UPDATED JOINT CASE
                v.                                       MANAGEMENT STATEMENT
    24
         MERCEDES-BENZ USA, LLC, and                     Date: February 22, 2022
    25   DAIMLER AG,                                     Time: 2:00 p.m.
    26                                                   Courtroom 6, 2nd Floor (Oakland)
                          Defendants.
                                                         Hon. Jon S. Tigar
    27

    28

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 1           Plaintiff YING YING GUAN (“Plaintiff” or “GUAN”) and Defendants MERCEDES-

 2   BENZ USA, LLC (“MBUSA”) and DAIMLER AG (collectively “the Parties”), by their

 3   undersigned counsel, submit this Updated Joint Case Management Statement pursuant to Federal

 4   Rule of Civil Procedure 26, the Standing Order for All Judges of the Northern District of

 5   California dated November 1, 2018, Civil Local Rule 16-9, and this Court’s November 29, 2021

 6   Order (Dkt. No. 70).

 7   I.      JURISDICTION AND SERVICE:

 8           On August 14, 2020, Defendant MBUSA removed this matter to this Court on the basis of

 9   original jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C. §1332(d)(2),

10   “because it is a ‘class action’ comprised of at least 100 members in the aggregate, minimal

11   diversity of citizenship exists between the Parties, and the amount in controversy exceeds the sum

12   of $5,000,000, exclusive of interests and costs.” (Dkt. 1, pg. 2:19-24).

13           On June 23, 2021, Plaintiff filed a Second Amended Complaint naming Daimler AG as an

14   additional defendant. Daimler AG agreed to waive service on July 12, 2021. Plaintiffs’ filed a

15   Third Amended Complaint on August 23, 2021.

16           Defendants submit that the Court lacks subject matter jurisdiction over Plaintiff’s claims

17   because of the Campaign described below. Defendants moved to dismiss Plaintiff’s Third

18   Amended Complaint on these grounds and others, and the motion to dismiss is now fully briefed

19   (Dkt. Nos. 62, 65, 66). No issues exist regarding personal jurisdiction or venue, and no parties

20   remain to be served.

21   II.     FACTS:

22           Plaintiff’s Statement

23           Plaintiff YING YING GUAN is a California consumer who purchased, for personal use, a

24   Mercedes-Benz Certified Pre-Owned 2014 Mercedes-Benz C250 from an authorized

25   MBUSA/DAIMLER AG (“Mercedes Defendants”) dealership that came with both the remainder

26   of the 4-year/50,000-mile New Vehicle Limited Warranty and an additional comprehensive one-

27   year CPO Limited Warranty from the Mercedes Defendants.

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 1          In August 2019, when the vehicle had less than 50,000 miles on the odometer, a “Check

 2   Engine Light” came on because of defects with the vehicle’s camshaft adjusters. The camshaft

 3   adjuster on a vehicle is not subject to “wear and tear,” should last the useful lifespan of the

 4   vehicle’s engine, and only need to be replaced as part of a complete engine replacement. They

 5   certainly should not fail at 50,000 miles. However, because the adjusters failed and the Mercedes

 6   Defendants refused to offer Plaintiff any relief (despite her affirmative request), Plaintiff was

 7   forced to pay $3,700, out-of-pocket, to have an independent repair facility replace the vehicle’s

 8   intake and exhaust camshaft adjusters, timing chain tensioner and related seals and gaskets. This

 9   was necessary because continuing to drive the vehicle would pose a safety hazard, as the

10   defective camshaft adjusters would eventually cause the vehicle to fail, without any warning.

11          Plaintiff claims that the camshaft adjusters on the 2012-2014 C250s are defective and on

12   that basis, seeks to represent a putative class of California consumers who purchased a 2012,

13   2013, or 2014 model year Mercedes-Benz C250 Sedan, a 2012, 2013, 2014, or 2015 model year

14   Mercedes-Benz C250 Coupe, or a 2012, 2013, 2014, or 2015 Mercedes-Benz SLK 250, that was

15   purchased either new or as a Mercedes-Benz Certified Pre-Owned vehicle. (“Class Vehicles”).

16   Plaintiff alleges that the Mercedes Defendants “knew” of the alleged defect and failed to disclose

17   it to consumers and therefore is liable to her and the putative class for beach of implied warranties

18   under the Song-Beverly Act and Magnuson-Moss Act, and for violations of the CLRA and UCL.

19          In August 2019, Plaintiff asked MBUSA to replace the camshaft adjusters on her vehicle,

20   but was denied any relief. And prior to the filing of the First Amended Complaint in this action,

21   MBUSA again denied Plaintiff’s request for relief as set forth in the May 26, 2020 CLRA

22   Demand Letter, claiming that Plaintiff’s demand “fails to specify what wrongdoing MBUSA

23   purportedly engaged in.” And in removing the action, MBUSA Product Analysis Engineer

24   Theodore Vaughan submitted a declaration claiming that “what constitutes ‘camshaft adjusters’ to

25   plaintiff is not clear in the Complaint.’ (Dkt. 1-2, ¶ 8). But despite claiming ignorance to the

26   issue, as late as August 7, 2020, MBUSA, again through Mr. Vaughan, now asserts that “[l]ong

27   before plaintiff served her CLRA Demand Letter and filed her lawsuit, the manufacturer of

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 1   Mercedes-Benz vehicles decided to launch an extended warranty and reimbursement campaign

 2   (the “Campaign”) for the Subject Camshaft Adjusters.” (Dkt. 23-1, ¶ 4)

 3          Defendants’ Statement

 4          Plaintiff alleges she purchased a Certified Pre-Owned (“CPO”) 2014 Mercedes-Benz

 5   C250 that at the time of purchase, was two years old and had been driven 22,827 miles. Over

 6   three years later, Plaintiff claims she first discovered a potential issue with her purchased vehicle

 7   when she allegedly incurred out-of-pocket expenses to replace her camshaft adjusters as

 8   applicable warranties had expired. Due to these repairs, Plaintiff claims the camshaft adjusters in

 9   her vehicle, and in every other 2012 through 2014 C250 (the “subject camshaft adjusters”) are

10   “defective.”

11          Defendants currently believe that the key factual issues are as follows: (1) whether

12   Plaintiff’s claims are not ripe for judicial review due to the extended warranty campaign

13   providing coverage for the subject camshaft adjusters and a reimbursement program for those

14   who have incurred out-of-pocket expenses for repairs; (2) whether the subject camshaft adjusters

15   suffer from a uniform defect; (3) what that defect is—the SAC does not sufficiently describe the

16   alleged design defect, i.e., how the subject camshaft adjusters and the associated components are

17   actually defective; (4) whether Defendants knew of the alleged defect, and in a uniform manner,

18   at the time of sale of every Class Vehicle; (5) whether Defendants intended to defraud, deceive,

19   or mislead putative class members; (6) whether putative class members were actually defrauded,

20   deceived, or misled; (7) whether such defect has caused injury to all putative Class Members,

21   including those whose vehicles will be repaired for free under the upcoming Campaign or who

22   never experienced the alleged defect in the same way; (8) whether the subject camshaft adjusters

23   installed in varying and different Class Vehicles are sufficiently similar and otherwise meet the

24   requirements of Fed. R. Civ. P. 23 for class certification; (9) whether Plaintiff can prove the

25   alleged damages with classwide, predominant proof; (10) whether Plaintiff, or any “reasonable

26   consumer” – as alleged in the Complaint – has a valid expectation that any parts not addressed in

27   MBUSA’s warranty and maintenance booklets will not need maintenance for the life of the

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 1   vehicle in the absence of any such guarantee, whether express or implied; and (11) whether the

 2   alleged defect constitutes a safety hazard.

 3          Defendants also dispute that the subject camshaft adjusters are “defective.” Not only is

 4   Plaintiff unable to specify what the alleged design defect is, but the Class Vehicles also allegedly

 5   manifest symptoms in different ways, and in varying degrees, which may or may not have any

 6   relation to the alleged defect.

 7          Defendants further dispute that they had knowledge of any alleged defect before the sale

 8   of the Class Vehicles. Although Plaintiff points to various alleged sources of Defendants’

 9   knowledge, including for example, consumer complaints that post-date the sale of Plaintiff’s

10   vehicle and/or were made outside the U.S., unspecified data regarding warranty service requests,

11   and technical services bulletins concerning different symptoms and different engines than those at

12   issue in this action, none of these materials and information actually establish that Defendants had

13   pre-sale knowledge of any alleged defect in Plaintiff’s vehicle. Lacking knowledge of any defect,

14   Defendants certainly could not have acted with any intent to defraud, deceive, or mislead their

15   customers. Defendants further contends that no putative class members were actually defrauded,

16   deceived, or misled.

17          Defendants also dispute whether the putative class can satisfy Fed. R. Civ. P. 23, and

18   believes that issues necessitating highly individualized inquiries prevent the possibility of

19   certification. For instance, Plaintiff cannot show that any alleged defect, which she has not

20   identified with any specificity, exists in every putative class vehicle. The manifestation of these

21   issues—which allegedly include difficulty in accelerating, a long crank during start up, hesitation,

22   and/or noise from the engine, causing the vehicle to enter into “limp mode,” and an illuminated or

23   non-illuminated “Check Engine Light”—can occur for any number of reasons unrelated to an

24   alleged defect, which the Parties and the Court must explore for each putative class member.

25   Given the uncertain and imprecise nature of the alleged defect, individual inquiries would be

26   required to determine the cause of each instance of any alleged manifestation of symptoms of the

27   alleged defect. In addition, the majority of the class vehicles, which have been on the road for

28   years and collectively traveled millions of miles, have not experienced the same symptoms

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 1   alleged by Plaintiff. The fact that the putative Class Vehicles allegedly experience issues in

 2   different ways—which may or may not be related to the alleged defect—further precludes

 3   Plaintiff from proving damages with classwide, predominant proof. Plaintiff further alleges no

 4   facts showing that the subject camshaft adjusters in the M271.8 EVO engines operate the same

 5   across different model years. The claims raise other highly individualized issues, such as

 6   standing. Alone, each of these issues makes class treatment improper; taken together, they render

 7   the class incapable of resolution using the class action device.

 8   III.   LEGAL ISSUES:

 9          Plaintiff’s Statement

10          Plaintiff contends that the camshaft adjusters on the the Class Vehicles suffer from a latent

11   defect that cause the camshaft adjusters to fail prematurely (i.e. prior to the end of the useful

12   lifespan of the vehicles’ engine), as early as at 50,000 miles, requiring costly out of pocket repairs

13   (upwards of $10,000), that the Mercedes Defendants “knew” of the latent defect, and that the

14   Mercedes Defendants failed to disclose the defect. The key legal issues are as follows:

15          (a)     Whether the camshaft adjusters on the Class Vehicles fail prematurely at

16          unacceptably high rates;

17          (b)     Whether the Mercedes Defendants has omitted and will continue to omit material

18          facts to members of the Class and the public concerning the camshaft adjusters on the

19          Class Vehicles;

20          (c)     If so, whether the Mercedes Defendants’s concealment of material facts

21          concerning the performance and reliability of the camshaft adjusters on the Class Vehicles

22          were likely to deceive the public;

23          (d)     Whether the camshaft adjusters on the Class Vehicles fail to conform to the

24          Mercedes Defendants’s product specifications;

25          (e)     Whether the Mercedes Defendants concealed from Plaintiff and members of the

26          Class that camshaft adjusters on the Class Vehicles do not conform to the Mercedes

27          Defendants’s product specifications;

28          (f)     Whether, by the misconduct alleged in this action, the Mercedes Defendants have

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 1          violated:

 2                   (i)     the Magnuson-Moss Warranty Act;

 3                   (ii)    the Song-Beverly Consumer Warranty Act;

 4                   (iii)   the Consumer Legal Remedies Act; and

 5                   (iv)    the Unfair Competition Law, Business & Professions Code §17200 et seq.

 6          (g)     Whether by requiring Plaintiff and members of the Class to pay for repairs arising

 7          from premature failure with the camshaft adjusters on the Class Vehicles, the Mercedes

 8          Defendants have breached an implied warranty of merchantability to Plaintiff and

 9          members of the Class; and

10          (h)     Whether, as a result of the Mercedes Defendants’ misconduct as alleged herein,

11          Plaintiff and members of the Class are entitled to damages, restitution, injunctive relief,

12          and other remedies, and, if so, the amount and nature of such relief.

13          Defendants’ Statement

14          Defendants currently believe that key legal issues are as follows: (1) whether the court

15   should exercise subject matter jurisdiction over this matter in light of the extended warranty

16   campaign providing coverage for the subject camshaft adjusters and a reimbursement program for

17   those who have incurred out-of-pocket expenses for repairs; (2) whether the alleged defect is/was

18   uniformly material to putative class members, who are current and former owners of Class

19   Vehicles sold over an undefined period at various ages, in various conditions, and under different

20   circumstances; (3) whether Defendants were under a duty to disclose the alleged defect to Class

21   Members; (4) whether Defendants failed to disclose and/or concealed the alleged defect from

22   Class Members; (5) whether failure to disclose the alleged defect to putative class members

23   constitutes a deceptive business practice; (6) whether Plaintiff will be able to satisfy proof

24   requirements under the Consumers Legal Remedies Act (“CLRA”), Unfair Competition Law

25   (“UCL”), and/or California implied warranty law; (7) whether Plaintiff’s claim under Magnuson-

26   Moss Warranty Act (“MMWA”) falls with Plaintiff’s California warranty claim; (8) whether

27   Plaintiff has standing to pursue claims on behalf of the putative class; (9) whether the class meets

28   the requirements of Fed. R. Civ. P. 23.

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 1   IV.     MOTIONS:

 2           On August 14, 2020, MBUSA filed its Notice of Removal. (Dkt. 1.) On September 14,

 3   2020, MBUSA filed its motion to dismiss the First Amended Complaint. (Dkt. 23.) On

 4   October 14, 2020, Plaintiff filed its opposition to MBUSA’s motion to dismiss. (Dkt. 25.) On

 5   November 4, 2020, MBUSA filed its reply in support of its motion to dismiss. (Dkt. 33.) On

 6   December 4, 2020, Plaintiff filed a surreply in opposition to MBUSA’s motion to dismiss. (Dkt.

 7   34.). On May 24, 2021, the Court granted in part and denied in part MBUSA’s motion to

 8   dismiss. (Dkt. 43.) Plaintiff subsequently filed a Second Amended Complaint and then a Third

 9   Amended Complaint, by consent.

10           Defendants motion to dismiss the Third Amended Complaint is fully briefed and under

11   submission. Defendants also anticipate that they may file a motion for summary judgment and a

12   motion to deny class certification, and related motions—e.g., Daubert motions—in the event

13   Defendants’ motion to dismiss is denied.

14           Plaintiff intends to file a motion for class certification.

15   V.      AMENDMENT OF PLEADINGS:

16           The Parties propose fifteen (15) days after the Court issues its order on Defendants’

17   motion to dismiss Plaintiff’s Third Amended Complaint as an appropriate deadline for seeking

18   leave to amend any pleadings.

19   VI.     EVIDENCE PRESERVATION:

20           The Parties have reviewed the ESI Guidelines and have engaged in meet-and-confer

21   efforts regarding steps taken to preserve evidence relevant to the issues in this action. Plaintiff’s

22   counsel has discussed with Plaintiff the need to preserve all evidence they have relevant to the

23   issues presented by this case, Plaintiff has agreed. Defendants have instructed relevant personnel

24   who may have discoverable information in their possession to retain information relevant to any

25   party’s claim or defense in this litigation.

26   VII.    DISCLOSURES:

27           MBUSA and Plaintiff timely exchanged their respective initial disclosures on October 27,

28   2020. Daimler AG served its initial disclosures on September 7, 2021.

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 1   VIII. DISCOVERY:

 2          On February 10, 2021, MBUSA and Plaintiff propounded on one another their respective

 3   initial sets of interrogatories, requests for production, and requests for admission. They

 4   exchanged written responses to the requests for production on March 19, 2021. On April 12,

 5   2021, MBUSA and Plaintiff exchanged written responses to the interrogatories and requests for

 6   admission and commenced production of documents on a rolling basis. Plaintiff may commence

 7   discovery as to Daimler AG on September 6, 2021. See Dkt. 51 at 3.

 8          MBUSA has produced written documents and Plaintiff is now in the process of meeting

 9   and conferring with MBUSA to schedule depositions.

10          Defendants plan to take the deposition of Plaintiff and other individuals with knowledge

11   of the condition of Plaintiff’s car, including personnel who serviced Plaintiff’s car. Defendants

12   further intend to inspect Plaintiff’s vehicle. Defendants may also seek to obtain discovery from a

13   limited number of unnamed class members and third-parties, and may depose experts relevant to

14   class certification issues whom Plaintiff discloses. Following Plaintiff’s discovery responses and

15   depositions, Defendants may need to propound additional written discovery.

16          The Parties propose the following schedule, starting with the date the Court enters the

17   scheduling order (“SO”):

18          SO + 6 months:         Conclusion of fact discovery

19          + 30 days:             Plaintiffs’ motion for class certification due, including any expert

20                                 declarations supporting class certification

21          + 60 days:             Deposition of plaintiffs’ class certification experts completed

22          + 60 days:             Defendants’ opposition to class certification due, including any

23                                 expert declarations supporting class certification opposition

24          + 45 days:             Deposition of Defendants’ class certification experts completed

25          +30 days:              Plaintiffs’ reply in support of class certification

26          + 14 days:             Class certification hearing, hearing on Daubert motions, and any

27                                 pre-certification dispositive motions

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 1            The Parties also jointly propose the following additional dates based on the date that the

 2   Court issues a decision as to whether class certification is denied or granted (“CERT”).

 3            CERT + 28 days:        Last day for Parties to meet-and-confer regarding case scheduling

 4                                   and, depending on the Court’s determination following the hearing

 5                                   on class certification, to discuss case logistics as the case goes

 6                                   forward as either a class action or on an individual basis

 7            + 7 days:              Last day for Parties to file proposed scheduling order based on the

 8                                   meet-and-confer

 9            + 14 days:             Case management conference regarding case scheduling going

10                                   forward (may be set at different date for Court’s convenience)

11            Other than as set forth above with respect to the timing of discovery, the Parties do not

12   believe that a departure from the discovery rules is necessary.

13   IX.      CLASS ACTIONS:

14            All attorneys of record for the Parties have received the Procedural Guidance for Class

15   Action Settlements.

16            Plaintiff brings this class action pursuant to Federal Rule of Civil Procedure 23(a), (b)(2),

17   and (b)(3), on behalf of a Class defined as: “All residents of California, who currently own, or

18   previously owned, a 2012, 2013, or 2014 model year Mercedes-Benz C250 Sedan, a 2012, 2013,

19   2014, or 2015 model year Mercedes-Benz C250 Coupe, or a 2012, 2013, 2014, or 2015

20   Mercedes-Benz SLK 250, that was purchased either new or as a Mercedes-Benz Certified Pre-

21   Owned vehicle.”

22            Defendants contend that certification of a class is not appropriate in this action.

23   X.       RELATED CASES:

24            The Parties are unaware of any related cases that are currently pending before this or any

25   other court.

26   //

27   //

28   //

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 1   XI.    RELIEF:

 2          Plaintiff’s Statement

 3          Plaintiff’s Second Amended Complaint seeks damages and equitable relief, including, but

 4   not limited to, an extension of the warranty on the Class Vehicles to 170,000 miles (i.e. the useful

 5   lifespan of the Class Vehicles’ engine); full reimbursement of any costs or expenses previously

 6   incurred by class members in connection with replacing their vehicles’ intake and/or exhaust

 7   camshaft adjusters; “benefit of the bargain damages” based on the difference in value of the

 8   vehicles that class members received (vehicles with defective camshaft adjusters) and the vehicles

 9   that they should have received (without defective camshaft adjusters); and notification of these

10   remedies. Plaintiff contends that the voluntary warranty extension program (through 120,000

11   miles) that the Mercedes Defendants has extended does not provide adequate notice to the class

12   members or adequate relief.

13          Defendants’ Statement

14          Defendants have not asserted counterclaims in this action and do not seek damages or any

15   other type of relief aside from dismissal of plaintiffs’ claims with prejudice, or a verdict in their

16   favor, and an award of costs and fees if appropriate.

17   XII.   SETTLEMENT AND ADR:

18          Because discovery is still in its early stages, the Parties take different positions regarding

19   an early resolution. For their part, Defendants dispute that Plaintiff and putative class members

20   have suffered any injury ripe for judicial review, dispute that the alleged defect in the subject

21   camshaft adjusters exist, deny that the alleged defect implicates a safety issue, and challenge

22   Plaintiff’s allegations that Defendants had knowledge of any purported defect that would require

23   them to disclose the alleged defect to consumers. Defendants further believe that the putative

24   class cannot be certified for a host of different and equally dispositive reasons, including the

25   unavoidable and highly-individualized issues of causation.

26          Defendants disagree that the Campaign makes this case appropriate for classwide

27   settlement. To the contrary, the Campaign—which Daimler AG had decided to launch before

28   Plaintiff served her CLRA demand letter and filed this lawsuit—is precisely why Plaintiff’s

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 1   claims are not ripe for continued litigation, much less a classwide settlement, and should be

 2   dismissed for lack of subject matter jurisdiction. Specifically, the Campaign provides Plaintiff

 3   and other members of the putative class with full relief for their purported injuries in the form of

 4   an extended warranty and reimbursement of qualifying past repair expenses. Plaintiff’s

 5   speculative assertion that the Campaign provides inadequate relief is not a sufficient basis for her

 6   to continue litigating this case, particularly where she is now eligible for reimbursement of her

 7   alleged out-of-pocket repair expenses. Accordingly, the Campaign already provides relief for the

 8   complained-of injuries and Defendants do not see class settlement as an option at this time.

 9          Plaintiff believes that this case should be ripe for early resolution. This is not a case where

10   the underlying defect is in serious dispute. The Mercedes Defendants have recognized that there

11   is a problem with the camshaft adjusters on the Class Vehicles; after the lawsuit was filed,

12   extended the warranty on the parts through 120,000 miles. (Plaintiff continues to contend that the

13   extended warranty remains inadequate and does not provide adequate relief or notification to the

14   class members.) From Plaintiff’s perspective, a Settlement Conference with a Magistrate Judge

15   may help move the situation forward.

16   XIII. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES:

17          All Parties have not consented to assign this case to a Magistrate Judge.
18   XIV. OTHER REFERENCES:

19          The Parties do not believe that the case is suitable for reference to binding arbitration, a

20   special master, or the Judicial Panel on Multidistrict Litigation.

21   XV.    NARROWING OF ISSUES:

22          Plaintiff believes that the Mercedes Defendants extended warranty program constitutes an

23   admission that the camshaft adjusters in the Class Vehicles are defective. The Parties should be

24   able to stipulate that the camshaft adjusters are defective and that the class has suffered injury.

25          Defendants believe that multiple issues and/or claims can be narrowed or entirely

26   eliminated by motion. Specifically, Defendants have filed a motion to dismiss the claims in

27   plaintiff’s TAC, for the reasons identified above. Defendants deny that the camshaft adjusters in

28   the putative class vehicles are defective, that the forthcoming extended warranty program

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 1   constitutes an admission of a defect in such parts, and that the putative class has suffered an

 2   injury. Indeed, the extended warranty at issue will provide plaintiff and the putative class with

 3   the relief she is demanding. Resolution of the motion in Defendants’ favor will promote judicial

 4   economy, and narrow the number and scope of claims that remain pending against it.

 5           Finally, Defendants believe that issues relating to plaintiff’s claims can potentially be

 6   resolved on a motion for summary judgment. Specifically, Defendants believe that, following

 7   discovery, Plaintiff will be unable to show Defendants’ knowledge of the alleged defect at the

 8   time the Class Vehicles were sold.

 9   XVI. EXPEDITED TRIAL PROCEDURE:

10           The Parties do not believe that this case can be handled under the Expedited Trial

11   Procedure of General Order 64, Attachment A.

12   XVII. SCHEDULING:

13           Scheduling should be set as described above in the Discovery Section. At this time, the

14   Parties believe that it is premature to set a pretrial conference date and a trial date. The scope and

15   duration of trial will certainly depend on whether the class is certified, and so the Parties propose

16   that dates for the pretrial conference and trial be determined after this Court issues an order either

17   certifying the class or denying certification.

18   XVIII. TRIAL:

19           The Parties agree that the case will be tried to a jury with the exception of claims arising

20   under the California Unfair Competition Law, which are to be tried by the Court. The Parties

21   believe that the Court should not set the case for trial until it has ruled on Plaintiff’s anticipated

22   motion for class certification. The Parties believe that issues presented in this case will be

23   markedly different if it proceeds on a class basis, as opposed to an individual action. The Parties

24   respectfully request another Scheduling Conference, to discuss further case management and

25   dates, be set for a date after the Court’s ruling on Plaintiff’s motion for class certification and any

26   appeals of such decision.

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 1   XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS:

 2          Both Parties have filed the “Certification of Interested Entities of Persons” required by

 3   Civil Local Rule 3-15.

 4          Plaintiff’s Position

 5          Plaintiff has no interest to report.

 6          Defendants Statement

 7          MBUSA has filed a “Certification of Interested Entities or Persons.” (Dkt. 2.) In this

 8   Case Management Statement and in its filed certification, MBUSA identifies its parent company

 9   Daimler North America Corporation (“DNAC”), the ultimate parent of which is Daimler AG, a

10   publicly held German Aktiengesellschaft.

11          Daimler AG filed a “Certification of Interested Entities or Persons” on August 3, 2021. In

12   this Case Management Statement and in its filed certification, Daimler AG informs the Court that

13   it does not have a parent corporation, and that no publicly held corporation owns 10% or more of

14   Daimler AG’s stock.

15   XX.    PROFESSIONAL CONDUCT:

16          Counsel of record for the parties have reviewed the Guidelines for Professional Conduct

17   for the Northern District of California and intend to comply with those guidelines.

18
     Dated: _February 15, 2022____________            SQUIRE PATTON BOGGS (US) LLP
19
                                                      By: /s/ Eric J. Knapp
20
                                                                          Eric J. Knapp
21                                                    Attorney for Defendants
                                                      MERCEDES-BENZ USA, LLC and DAIMLER
22                                                    AG
23

24   Dated: _February 15, 2022____________            CONN LAW, PC
25                                                    By: /s/ Elliot J. Conn
26                                                                        Elliot Jason Conn
                                                      Attorney for Plaintiff YING YING GUAN and
27                                                    the potential class

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